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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA                          NOV 2 0 2007
                                       RICHMOND DIVISION



UNITED STATES OF AMERICA

                                                            CASE NO. 3:07CR00373-002
v.



JERRELL GRAY,


                       Defendant



                                              ORDER


        This matter is before the court for consideration of a report and recommendation by the

Magistrate Judge regarding the Magistrate Judge's acceptance of the Defendant's plea of guilty

to specified charges in the pending matter pursuant to a Fed. R. Crim. P. 11 proceeding

conducted by the Magistrate Judge with the consent of the Defendant and counsel. It appearing

that the Magistrate Judge made full inquiry and findings pursuant to Rule 11; that the Defendant

 was given notice of the right to file specific objections to the report and recommendation that has

 been submitted as a result of the proceeding; and it further appearing that no objection has been

 asserted within the prescribed time period, it is hereby

          ORDERED that the report and recommendation of the Magistrate Judge is ADOPTED

 and the Defendant is found guilty of Counts One and Six of the Indictment.




                                                       Robert E. Payne
                                                       Senior United States District Judge



 Dated:                7.n .   200 7
